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    A 0 24% mev I2)(13) Sheel I - Judgment in a Criminal Case



                                    UNITED S TA TES DISTRICT COURT
                                                            MIDDLE DISTRlCT OF FLORIDA
                                                                 TAMPA DMSION

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    UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                                                       CASE NUMBER:       8:05-cr-455-T-3OTBM
                                                                       USM NUMBER         20395-017


I
    GUALBERTO CUELLO
I                                                                      Defmbt's Attorney : Wade Whidden, ret.

    THE DEFENDANT:

         pleaded guilty to #unt{s] ONE of l&e Indictment.
       pleaded no10 coatendere to mm(s) which was accepted by the tam.
       was found guilty w count(s) aft& a pIea of not gltilty.


    TITLE C SECTION                          NATURE OF OFFENSE                                  OFFENSE ENDED              C O W

                                             Conspiracy to Possess With Intent to Distribute    August 19, 2005            One
                                             5 Kilograms or More of Cocaine


            The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
    Sentencing Reform Act of 1984.

    -The defendant has been found not guilty on count(s)
    X Count(s) TWO of the Zndictmwt is dismissed on the motion of the United States.
    -
    IT IS FURTHER ORDERED h a t the defendant shall notify the United Stam Attorney for this district within 30 days of any change
    of name, residence, or mailing address until all fmes,restitution, costs, and special assessments imposed by this judgment are fully
    paid.
    If ordered to pay restitution, the defendmt shalI notify the court and United States Attorney of any material change in economic
    circumstances.


                                                                                        Date of Imposition of Sentence: April 26. 2006




                                                                                        WTJ~D
                                                                                            STATES DISTRICT JUDGE

                                                                                        DATE: April
                                                                                                       -Sib,2006
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A 0 245B (Rev 12/03) Sheet 2 - lmprisonmenr
Defendant:         GUALBERTOCUELLO                                                                          Judgment - Page 2 of 6
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        A f t e r considering t h e advisory s e n t e ~ l c i n gguidelines a n d all of t h e f a c t o r s icle~ltifieclin Title 18 U.S.C.
$8 3553(a)(1)-(7),the court finds that the scnte~lceimposed is sufficient, but not greater tli;in ncccss;iry, to cornply with
the statutory purposes of sentencing.


       The defendant is liereby corllrliitted to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of SEVENTY (70) h1ONTHS as to Count One of the Indictment.



-
X The coun makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(Florida), if possible.



X The defendant is remanded to the custody of the United States Marshal.
-
- The defendant shall surrender to the United States Marshal for this district.

          - at - a.rn.1p.m. on -.
          - as notified by the United Stares hlarshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by thc United States hlarshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RERRN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                                 at

                                                                        , with a certified copy of this judgnicnt.


                                                                                         United States Marshal

                                                                        By:

                                                                        Deputy marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:           GUALBERTO CUELLO                                                                             Judgment - Page 3of 6
Case No.:            8:05-cr-355-T-30TBM
                                                           SUPERVISED RELEASE

           U p o n release f r o m imprisonnient, t h e defendant shall be o n supervised release f o r a t e r m of THREE (3) YEARS a s t o
C o u n t O n e of t h e Indictn~cnt.

        The defendant shall report to the probation office in the district to which the defendant is rcleased within 72 hours of release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state, o r local crime. The defendant shall not illegally posscss a controlled substance.
T h e defendant shall refrain from any unlawful use of a controlled substance.


X
-        T h e defendant, having been convicted o f a qualifying felony, shall cooperate in the collection of DNA as directed b y the
         probation officer.


          If this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance
          with the Schedule of Payments sheet of this jud,oment.

          T h e defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions o n the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
 1   >    the defendant shall not lcavc the judicial district without the permission of the court or probation officcr;

 2)       thc dcfcndant shall rcport to thc probation officer and shall submit a truthful and complete w.1-ittcn report \v~thinthe first five days of each
          month:

 3j       the dekndant shall answcr truthfully all inquiries by the probation officer and follo\v the i~istructio~~s
                                                                                                                 of thc probation officer:

 3)       the defendant shall support his or hcr dcpcndcnts and meet other family responsibilities;

 5        the defendant shall work regularly at a lawful occupation, unless cxcuscd by thc probation ofticcr for schooling, training, or other
          acceptable reasons;

 6)        thc defendant shall notify the probation officer at least ten days prior to any change in residencc or employment;

 7)        thc defendant shall rcfrr~infrom cxccssive use of alcohol and shall not purchase, posscss, usc. distribute, or administer any controlled
           substance or any paraphernalia rclatcd to any controlled substances, except as prescribed by a physician;

 8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

 9)          the defendant shall not associate with any persons engaged in criminal activity and shall not associatc with any person convicted of a
             felony. unless granted permission to do so by the probation officer;

 10)         the defendant shall permit a probation officer to visit him or her at any time at home or clscwhcrc and shall permit confiscation of any
             contraband observed in plain vie\\' of the probation officcr;

 II)         thc dcfcndant shall notify the probation officer ivithin seventy-two hours of bcing arrcstcd or qucstioncd by a la\\, enforcement officer;

 13)         the defendant shall not enter into any agreement to act as an informcr or a special agent of a law cnforcc~ncntagency without the
             pcrnlission of the court:

 13)         as dircctcd by thc probation officcr. the defcndant shall notify third parties ofrisks that may bc occasioned by the defendant's criminal record
             or pcrsonal history or characteristics and shall permit thc probation officer to rnakc such nolifications and to conlirm the defendant's
             compliance \vith such notification requirement.
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A 0 245B (Rev. 1 m 3 ) Sheet 3C Supervised Release

Defendant:           GUALBERTO CUELLO                                                                   Judgment - Page 4 of 6
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                                             SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply \\ti& the following additional conditions of supervised release:
 X        Defendant shall participate in a program (outpatient andlor inpatient) for treatment of narcotic addiction or drug or alcohol
          dependency and follow the probation officer's instructions regarding the implementation of this court directive. This
          program may included testing for the detection of substance use or abuse not to excced 104 tesls per year. Further, the
          defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
          reasonable by the Probation Officer based on ability to pay or availability of third party payment and in conformance with
          the Probation Oftice's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol
          dependency treatment program the defendant is directed to submit to testing for the detection of substance use or abuse not
          to exceed 104 test per year.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation
          officer's determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed
          104 tests per year.
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A 0 245B (Re\ 12/03) Sheer 5 - Cr~rni~x~l
                                      hlonelary Penalties

Defendant:           GUALBEKTO CUELLO                                                                   Judgment - Page 5 of 6
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                                               CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedulc of payments on Sheet 6.
                               Assessment                            -
                                                                     Fine                       To1:ll Restitution

          Totals:              $100.00                               Uraived                    N/A


-         The determination of restitution is deferred until -.             An Amlellded Jztdgment iti a Crilnirial Case ( A 0 245C) will
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment. unless
          specified othenvise in the priority order or ercenta e payment colunln below. However, pursuant to 18 U.S.C. 5
          3664(i). all nonfederal victims nlurr be paifbefore %e Unired States.
                                                                                                                 Priority Order or
                                                      *Total                   Amount of                         Percentage of
Name of Pavee                                       Amount of Loss          Restitution Ordered                  I'avment




                               Totals:              -
                                                    $                          S

-          Restitution amount ordered pursuant to plea agreement S
          The defendant shall ny interest on any f i e or restitution of more than S2.500, unless the restilution or fine is paid in full
-
          before the fifteenth   dPy
                                 after the date of the judgment. pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).
-         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine          - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1IOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.    B
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments




Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.      -
        X         Lump sum payment of $ 100.00 due immediately, balance due
                           -not later than                    . or
                           - in accordance - C,            - D. - E or - F below: or
B.      -         Payment to begin immediately (may be combined with -C. -D, or -F below): or
C.      -         Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                  date of this judgment: or
D.      -         Payment in equal                 (e.g.. weekly. monthly. quarterly) installments of S               over a
                  period of
                                , (e.g., months or years) to co~nmence                    (e.g. 30 or 60 days) after release
                  fro~ninlprisonlnent to a term of supervision; or
E.       -        Pay~nentduring the term of supervised release will commence within                          (e.g.. 30 or
                  60 days) after release from imnprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment inlposes a period of in1 risonment. payment of crirninal
         6                             e;
Inonetar penalties is due during im risonment. All criminal monetary penalties. except #ose a ments ~nadethrough the
Federal ureau of Prisons' Inmate inancial Responsibility Program. are made to the clerk o e court.        ?ti
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several .4mount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that d ~ defendant
                          e         forfeit to the United States immediately and voluntarily any and all assets and roperty.
or portions thereof, subject to forfeiture. which are in the possession or control of the defendant or the de endant's
nominees.
                                                                                                                              P

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, ( 6 ) fine interest (7) penalties, and (8) costs, including cost of prosecution 'and court costs.
